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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA


In re:                                                      Case No. 16-05098-dd
         RALPH BLANTON SHEALY

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Pamela Simmons-Beasley, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 10/05/2016.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 12/09/2016.

         6) Number of months from filing to last payment: 2.

         7) Number of months case was pending: 4.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $26,250.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor                   $400.00
       Less amount refunded to debtor                             $400.00

NET RECEIPTS:                                                                                          $0.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $0.00
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                        $0.00
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                      $0.00

Attorney fees paid and disclosed by debtor:                 $4,000.00


Scheduled Creditors:
Creditor                                       Claim         Claim         Claim        Principal       Int.
Name                                 Class   Scheduled      Asserted      Allowed         Paid          Paid
American Express                 Unsecured      1,019.00       1,019.75      1,019.75           0.00        0.00
Bank of America                  Unsecured      8,100.00            NA            NA            0.00        0.00
Capital 1 Bank                   Unsecured      5,141.00            NA            NA            0.00        0.00
CITIBANK SEARS                   Unsecured      1,384.00            NA            NA            0.00        0.00
DISCOVER BANK                    Unsecured         444.00        444.96        444.96           0.00        0.00
ECAST SETTLEMENT CORP            Unsecured      6,119.00       5,978.63      5,978.63           0.00        0.00
GECRB/ Dillards                  Unsecured      3,476.00            NA            NA            0.00        0.00
GECRB/AMAZON                     Unsecured      2,517.00            NA            NA            0.00        0.00
James B. Shealy Jr.              Unsecured      5,000.00            NA            NA            0.00        0.00
Park Sterling Bank               Secured      154,000.00    156,132.72    156,132.72            0.00        0.00
Sears/Cbna                       Unsecured      1,434.00            NA            NA            0.00        0.00
SYNCB/BELK                       Unsecured      1,207.00            NA            NA            0.00        0.00
Syncb/steinmart Pllc             Unsecured          46.00           NA            NA            0.00        0.00
Syncb/tjx Cos Dc                 Unsecured         914.00           NA            NA            0.00        0.00
SYNCHRONY BANK                   Unsecured          73.00           NA            NA            0.00        0.00
UNITED STATES TREASURY FOR IRS   Unsecured            NA       1,596.39      1,596.39           0.00        0.00
UNITED STATES TREASURY FOR IRS   Priority       5,779.80       4,183.41      4,183.41           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00               $0.00             $0.00
       Mortgage Arrearage                                     $0.00               $0.00             $0.00
       Debt Secured by Vehicle                                $0.00               $0.00             $0.00
       All Other Secured                                $156,132.72               $0.00             $0.00
 TOTAL SECURED:                                         $156,132.72               $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00               $0.00             $0.00
        Domestic Support Ongoing                              $0.00               $0.00             $0.00
        All Other Priority                                $4,183.41               $0.00             $0.00
 TOTAL PRIORITY:                                          $4,183.41               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                              $9,039.73               $0.00             $0.00


Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

TOTAL DISBURSEMENTS :                                                                             $0.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/13/2017                             By:/s/ Pamela Simmons-Beasley
                                                                   Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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